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   United States Attorney
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 3 Chief, Criminal Division

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   Assistant United States Attorney
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 9 Attorneys for United States of America

10                                   UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                        ) NO. CR 20-00249 RS-1
14                                                    )
               Plaintiff,                             ) NOTICE OF APPEARANCE OF COUNSEL
15                                                    )
          v.                                          )
16                                                    )
                                                      )
17   ROWLAND MARCUS ANDRADE                           )
                                                      )
18             Defendant.                             )
                                                      )
19                                                    )

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               TO THE COURT AND DEFENDANTS AND COUNSEL:
21
               PLEASE TAKE NOTICE THAT the Clerk is hereby requested to enter the appearance of
22
     Assistant United States Attorney (“AUSA”) Ross Weingarten, who will be appearing on behalf of the
23
     United States in the above-captioned case. The Clerk is requested to change the docket sheet and other
24
     Court records to ensure that all orders and communications from the Court will, in the future, be
25
     additionally directed to AUSA Weingarten at the above mailing address, telephone number, facsimile
26
     number, and email address.
27
     //
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     NOTICE OF APPEARANCE OF COUNSEL                 1
     CR 20-00249 RS
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 1         Please also take note that, from the date of this request, all matters served on the government

 2 should also be served on AUSA Weingarten. Please amend your service list accordingly.

 3

 4 DATED: March 7, 2022                                         Respectfully submitted,

 5                                                              STEPHANIE M. HINDS
                                                                United States Attorney
 6

 7
                                                                ____________/s/____________
 8                                                              ROSS WEINGARTEN
                                                                Assistant United States Attorney
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     NOTICE OF APPEARANCE OF COUNSEL                2
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